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                                                                                      Reply to: Matawan Office

   September 7, 2022

   Via Electronic Filing
   Magistrate Judge Jessica S. Allen
   United States District Court for the District of New Jersey
   Clarkson S. Fisher Building & U.S. Courthouse
   402 East State Street Room 2020
   Trenton, NJ 08608

   Re:     East Brunswick Township Board of Education v. D.S. and M.S. o/b/o A.S.
           United States District Court for the District of New Jersey
           Docket No. 2:21-cv-08279-BRM-JSA

   Your Honor:

   Please be reminded that this firm represents Plaintiff, East Brunswick Township Board of Education
   (“Plaintiff”) in connection with the above-referenced matter. In this regard, the undersigned is in receipt
   of Defendants’ counsel’s correspondence dated September 6, 2022 [53], and the Court’s Text Order
   entry [54] dated today. Please accept this correspondence as Plaintiff’s response. With regard to
   multiple correspondence referenced in Ms. Warshaw’s September 6, 2022 correspondence [53], please
   note that Plaintiff did, in fact, receive said correspondence, but wishes to point out that none of those
   letters referenced or contained a proposed briefing schedule. Ms. Warshaw’s correspondence dated
   September 6, 2022 includes a briefing schedule to which Plaintiff has no objection.

   With regard to the Court’s Text Order [54] dated today, scheduling a Telephone Status Conference for
   September 13, 2022 at 10:45 a.m., please be advised that the undersigned has a previously scheduled
   hearing on September 13, 2022 at 10:00 a.m. in an emergent matter before Judge Buono in a matter
   entitled, M.S. and N.S. o/b/o R.S. v. East Brunswick Township Board of Education, Docket
   No. EDS 07327-22 and, thus, requests a brief adjournment of the telephone status conference.

   Thank you for your attention to this matter.

   Very truly yours,
   s/ Jodi Howlett
   Jodi S. Howlett
   JSH/tb
   cc:     Julie Warshaw, Esq. (via ECF)

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